Case 1:24-cv-08102-LTS Document 1

Pro Se 11 (Rev. 12/16) Third—Party Complaint

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UNITED STATES DISTRICT COURT

DADDY'S HOUSE RECORDS , INC, et al

for the

District of

Division

Case No.

(to be filled in by the Clerk’s Office)

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)
-Y-

BAD BOY ENTERTAINMENT HOLDINGS , INC, et al

Jury Trial: (check one) [V] Yes [_]No

Defendant, Third-party plaintiff(s)
(Write the full name of each defendant/third-party plaintiff: If the
names of all the defendants/third-party plaintiffs cannot fit in the
space above, please write “see attached” in the space and attach
an additional page with the full list of names.)

CLIVE DAVIS , et al

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Third-party defendant(s)
(Write the full name of each third-party defendant. If the names
of all the third-party defendants cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

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THIRD — PARTY COMPLAINT

1 The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name

DADDY'S HOUSE RECORDS , INC

Street Address

321 W 44th St : #201

City and County

NEW YORK and NEW YORK

State and Zip Code

NEW YORK and 10036

Telephone Number

212-757-0808

E-mail Address (if known)

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B. The Defendant(s)/Third—Party Plaintiff(s)

Provide the information below for each defendant/third—party plaintiff named in the complaint. Attach
additional pages if needed.

Name BAD BOY ENTERTAINMENT HOLDINGS INC
Street Address 1440 BROADWAY 3RD FL, NEW YORK, NY, 10018
City and County NEW YORK and NEW YORK

State and Zip Code NEW YORK and 10018

Telephone Number
E-mail Address

C. The Third—Party Defendant(s)

Provide the information below for each third-party defendant named in the complaint, whether the
third—party defendant is an individual, a government agency, an organization, or a corporation. For an
individual third—party defendant, include the person’s job or title (i/known). Attach additional pages if
needed.

Third—Party Defendant No. |

Name CLIVE DAVIS

Job or Title (if known) CORPORATE

Street Address 321 W 44th St : #201

City and County NEW YORK and NEW YORK
State and Zip Code NEW YORK and 10036
Telephone Number 506-200-8400

E-mail Address (if known)

Third—Party Defendant No. 2

Name SONY MUSIC ENTERTAINMENT
Job or Title (if known) CORPORATION

Street Address 321 W 44th ST : #201

City and County NEW YORK and NEW YORK
State and Zip Code NEW YORK and 10036
Telephone Number 506-200-8400

E-mail Address (if known)

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Third—Party Defendant No. 3

Name

Job or Title (if known)
Street Address

City and County

State and Zip Code
Telephone Number
E-mail Address (if known)

Third-Party Defendant No. 4

Name

Job or Title (if known)
Street Address

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

Initial Complaint

NEW YORK STATE INSURANCE FUND

CORPORATION

199 Church St

NEW YORK and NEW YORK
NEW YORK and 10007
888-875-5790

NEW YORK CITY POLICE DEPARTMENT-47th PRECINCT
CORPORATION

4111 LACONIA AVE

BRONX AND BRONX COUNTY

NEW YORK and 10466

718-920-1211

A. Identify the initial complaint filed against you and the date it was filed. Describe the events that gave
rise to the plaintiff's complaint, the nature of the claims asserted, and the relief sought. Attach the

complaint as an exhibit.

10/14/2024 legal documents were filed and CORPORATIONS admit to wrongdoings and liabilities .

B. State whether you have filed an answer to the complaint and, if so, briefly summarize what admissions
or denials that answer asserted. Attach the answer as an exhibit.
Plaintiff agrees to liabilities and sanctions .

Third—Party Complaint

A. Describe the nature of the relationship between you and the third—party defendant. Attach any contracts
or documents showing the nature of the relationship.

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IV.

CORPORATIONS accept liabilities and costs .

Explain why, if the plaintiff received any judgment against you, you will be entitled to judgment against
the third—party defendant for contribution to or indemnification for the amount of damages and costs
awarded to the plaintiff. Include the percentage of the plaintiff's recovery that the third—party defendant
will be required to contribute. Describe the facts, or relevant provisions of state law, that demonstrate

you are entitled to collect from the third—party defendant. | oo
Plaintiff has committed corporation violations and accepts insurance liabilities .

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: (/ 52024
¥ [ t / / .
Signature of Defendant/Third—Party Plaintiff x

Printed Name of Defendant/Third—Party Plaintiff DAprVS HAISE PEC ARDS IN oc
_ “T= ns $ WIT YO _

For Attorneys

Date of signing: tovpipbea /} \

| ||
Signature of Attorney IT ZA
Printed Name of Attorney “ROBERT JOHNSON “YG
Bar Number 999999 /

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Name of Law Firm
Street Address
State and Zip Code
Telephone Number
E-mail Address

ROBERT JOHNSON ESQ

4111 Laconia Ave

NEW YORK and 10466

718-920-1211

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Summary Page - Submitted Externally

Submission Number 17290-260-853-425 was submitted on Tuesday, October 15, 2024 at
10:30:00 AM EDT

This PDF was generated on Tuesday, October 15, 2024 at 10:30:29 AM EDT

Thank you for contacting the United States Securities and Exchange Commission. This automated
response confirms that your submission has been received successfully. We are always interested

in hearing from the public, and your submission will be given careful consideration in view of the
Commission's overall responsibilities under the federal securities laws. Please note, however, that it is the
Commission's policy to conduct its investigations on a non-public basis in order to preserve the integrity of
its investigative process. Subject to the provisions of the Freedom of Information Act, we cannot disclose
to you any information which we may gather, nor can we confirm the existence or non-existence of an
investigation, unless such information is made a matter of public record in proceedings brought before

the Commission or the courts. Therefore, this may be the only response that you receive. If you want to
learn more about how the Commission handles inquiries or complaints, please visit http:/Awww.sec.gov/
complaint/info_tipscomplaint.shtml.

What is your complaint about?

Q: Please select the option that best describes your complaint.

A: Fraudulent investment scheme, such as a Ponzi scheme or the promise of high-yield returns

Q: Please select the specific category that best describes your complaint.
A: Other

Q: Please provide more information.
A: CORPORATION CRIMES .

Q: If a return on investment of any amount was guaranteed, what percentage was guaranteed?

A: [% ] Enter Percentage

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: Enter Percentage % (Enter whole numbers)

A: 100 ECEIVE|;

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Summary Page - Submitted Externally

Q: If you are alleging offering fraud, how was the offer made?
A: Public filing with the SEC

Q: Is this supplemental information to a previous complaint?
A: No

Q: In your own words, describe the conduct or situation you are complaining about.

A: CLIVE DAVIS THROUGH CORPORATION SONY MUSIC ENTERTAINMENT HAS COMMITTED CORPORATION
FRAUD , INSURANCE FRAUD , IRS TAX FRAUD AND SEX CRIMES AGAINST MULTIPLE VICTIMS FOR
WAGES AND CORPORATE CONTRACTS . CLIVE DAVIS THROUGH SONY MUSIC ENTERTAINMENT HAS
FALSIFIED IRS TAX RECORDS FOR MONETARY GAIN AND COERCED THE CAREERS OF SONY MUSIC
ENTERTAINMENT ARTISTS AND BAD BOY ENTERTAINMENT HOLDINGS INC EMPLOYEE SEAN COMBS.
CLIVE DAVIS COERCED SEAN COMBS OF BAD BOY ENTERTAINMENT HOLDINGS INC VIA CONTRACTS
FOR DIAGEO AND OTHER LUCRATIVE BUSINESS VENTURES .

Q: Are you having or have you had difficulty getting access to your funds or securities?
A: Yes

Q: Did you suffer a loss?
A: Yes

Q: Enter amount of loss to nearest dollar without characters (e.g., 15000, not $15,000.00).
A: 999999999

Q: When did you become aware of the conduct? (m/d/yyyy)
A: 10/15/2024

Q: When did the conduct begin? (m/d/yyyy)
A: 01/01/1994

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Summary Page - Submitted Externally .

Q: Is the conduct ongoing?
A: Yes

Q: Has the individual or firm acknowledged the conduct?
A: Yes

Q: How did you learn about the conduct? You may select more than one answer.

A: Account statements; Broker-dealer records; Conversations; Internal business documents; Publicly available
information; SEC filings; Social media (e.g., Facebook, Twitter, blogs, chat rooms, and electronic communities of
interest); Stock tip sheet or newsletter

Q: Have you taken any action regarding your complaint? You may select more than one answer.

A: Complained to firm; Complained to other regulator; Complained to SEC; Complained to law enforcement;
Complained to other; Legal action; Mediation; Arbitration

Q: Provide details.

A: CLIVE DAVIS HAS ADMITTED TO WRONGDOINGS AND IS CURRENTLY UNDER INVESTIGATION FOR
CORPORATION CRIMES AND CRIMINAL VIOLATIONS .

Who are you complaining about?

Subject # 1

Q: Are you complaining about a person or a firm?

A: Person

Q: Select the title that best describes the person or firm that you are complaining about.

A: Fund manager

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Tips, Complaints. aad Referrals et iled 10/ g

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Q: Where is the person that you are complaining about employed?
A: SONY MUSIC ENTERTAINMENT

Q: Are you or were you associated with the person or firm when the alleged conduct occurred?

A: Yes

Q: How are you or were you associated with the person or firm you are complaining about?
A: | AM AN ATTORNEY AND WHISTLEBLOWER.

Q: Person's Title
A: Mr

Q: First Name
A: CLIVE

Q: Last Name
A: DAVIS

Q: Street Address
A: 25 Madison Ave, : Fl 19

Q: Zip / Postal Code
A: 10010

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: City
: NEW YORK

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Q: State / Province
A: NY

Q: Country
A: US

Q: Home Phone
A: 506-200-8400

Q: If the complaint is about an entity or person that has custody or control of your investments, have you
had difficulty contacting that entity or person?

A: No

Which investment products are involved?

Q: Select the type of product involved in your complaint.

A: Other

Q: Please select the category that best describes the security product.

A: Cryptocurrencies or crypto assets

Q: Enter the ticker symbol, if known.
A: SONY

Q: Enter the product name(s)
A: US CURRENCY

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About you

Submitter # 1

Q: Are you filing this tip under the SEC's whistleblower program?
A: Yes

Q: Are you an attorney filling out this form on behalf of an anonymous whistleblower client who is seeking
an award?

A: Yes

Q: Attorney Title
A: Mr

Q: Attorney First Name
A: WILLIE

Q: Attorney Last Name
A: JOHNSON

Q: Attorney Firm Name
A: WILLIE JOHNSON ESQ

Q: Attorney Street Address
A: 65 SIDNEY ST

Q: Attorney Zip / Postal Code
A: 14211

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Q: Attorney City
A: BUFFALO

Q: Attorney State / Province
A: NY

Q: Attorney Country
A: US

Q: Attorney Work Telephone
A: 716-445-1734

Q: Attorney Email Address
A: atemllc2023 @gmail.com

Q: Has your client reported this matter to his or her supervisor, compliance office, whistleblower hotline,
ombudsman, or any other available mechanism for reporting possible violations at any entity that he or she
is complaining about?

A: Yes

Q: If you answered "Yes," please provide details.
A: PENDING.

Q: Has your client been retaliated against for reporting the matter at issue in this submission either internally
at the entity or to a regulator?

A: Yes

Q: If you answered "Yes," please provide details.
A: ROBERT JOHNSON WAS ASSAULTED 09/06/2024 AND DENIED PROTECTION BY POLICE .

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Q: Has anyone taken steps to prevent your client from reporting this violation to the SEC?
A: Yes

Q: If you answered "Yes," please provide details.
A: PENDING.

Q: Are documents or other information being submitted that could potentially identify the whistleblower?

A: Yes

Q: Identify with particularity any documents or other information in your submission that you believe could
reasonably be expected to reveal your identity.

A: LEGAL RECORDS .

Q: Does the whistleblower want to be eligible to apply for a whistleblower award?

A: Yes

Q: 1. Are you, or were you at the time you acquired the original information you are submitting to us, a
member, officer or employee of the Department of Justice; the Securities and Exchange Commission; the
Comptroller of the Currency; the Board of Governors of the Federal Reserve System; the Federal Deposit
Insurance Corporation; the Office of Thrift Supervision; the Public Company Accounting Oversight Board;
any law enforcement organization; or any national securities exchange, registered securities association,
registered clearing agency, or the Municipal Securities Rulemaking Board?

A: Yes

Q: If the answer to the question is "Yes," please provide details.
A: PENDING.

Q: 2. Are you, or were you at the time you acquired the original information you are submitting to us, a
member, officer, or employee of a foreign government, any political subdivision, department, agency, or
instrumentality of a foreign government, or any other foreign financial regulatory authority as that term is
defined in Section 3(a)(52) of the Securities Exchange Act of 1934 (15 U.S.C. Section 78c(a)(52))?

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A: Yes

Q: If the answer to the question is "Yes," please provide details.
A: PENDING.

Q: 3. Did you acquire the information being submitted to us through the performance of an engagement
required under the federal securities laws by an independent public accountant?

A: Yes

Q: If the answer to the question is "Yes," please provide details.
A: PENDING.

Q: 4. Are you providing this information pursuant to a cooperation agreement with the SEC or another
agency or organization?

A: Yes

Q: If the answer to the question is "Yes," please provide details.
A: PENDING.

Q: 5. Are you a spouse, parent, child, or sibling of a member or employee of the SEC, or do you reside in the
same household as a member or employee of the SEC?

A: No

Q: 6. Have you or anyone representing you received any request, inquiry or demand that relates to the
subject matter of your submission (i) from the SEC; (ii) in connection with an investigation, inspection or
examination by the Public Company Accounting Oversight Board, or any self-regulatory organization; or (iii)
in connection with an investigation by Congress, any other authority of the federal government, or a state
Attorney General or securities regulatory authority?

A: Yes

Q: If the answer to the question is "Yes," please provide details.

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A: PENDING.

Q: 7. Are you currently a subject or target of a criminal investigation, or have you been convicted of a
criminal violation, in connection with the information you are submitting to the SEC?

A: No

Q: 8. Did you acquire the information being provided to us from any person described in Questions 1
through 7?

A: Yes

Q: If the answer to the question is "Yes," please provide details.
A: PENDING.

Q: | certify that | have reviewed this form for completeness and accuracy and that the information contained
herein is true, correct and complete to the best of my knowledge, information and belief. | further certify that
| have verified the identity of the whistleblower on whose behalf this form is being submitted by viewing

the whistleblower's valid, unexpired government issued Identification (e.g., driver's license, passport) and
will retain an original, signed copy of the Form TCR with the declaration signed by the whistleblower, in

my records. | further certify that | have obtained the whistleblower's non-waiveable consent to provide

the Commission with his or her original signed Form TCR upon request in the event that the Commission
requests it due to concerns that the whistleblower may have knowingly and willfully made false, fictitious, or
fraudulent statements or representations, or used any false writing or document knowing that the document
contains any false, fictitious or fraudulent statement or entry; and that | consent to be legally obligated to do
so within 7 calendar days of receiving such a request from the Commission.

A: Agree

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Documents

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Document Name

daddys.house.records.inc.3rd.party.pdf

daddys.house.records.inc.counsel.1 .24,07769.pdf

| Johnson v. Bad Boy Productions Holdings Inc et al
6 2024cv05631 _ US District Court for the District of
South Carolina _ Justia.pdf

| bad.boy.prod.hldgs.inc.2848.pdf

bad.boy.entrmt.hidgs.inc.2848. pdf

Document Type

application/pdf

application/pdf

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